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LITE DEPALMA GREENBERG LLC
Bruce D. Greenberg
570 Broad Street, Suite 1201
Newark, NJ 07102
Telephone: (973) 623-3000
Facsimile: (973) 623-0858
bgreenberg@litedepalma.com

Counsel for Plaintiffs

[Additional Counsel listed on signature page]

                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

ANNA CONOVER, PARRISH AND :
JACQUELINE SHERIDAN, BRYAN : Civil Action No.: 17-4625 (RMB)(JS)
AND JACQUELINE VAN VELSON, :
                            :
             Plaintiffs,    :
                            :
         v.                 : PLAINTIFFS’ NOTICE OF MOTION
                            : FOR PRELIMINARY SETTLEMENT
PATRIOT LAND TRANSFER, LLC, :     APPROVAL AND RELATED
WELLS FARGO BANK, N.A.,     :               RELIEF
                            :
             Defendants.    :
                            :

      PLEASE TAKE NOTICE that on December 2, 2019 at 9 AM or as soon

thereafter as the matter can be heard, Plaintiffs, Anna Conover, Parrish and

Jacquelyn Sheridan, Bryan and Jacqueline Van Velso (together “Plaintiffs”),

pursuant to Fed. R. Civ. P. 23(e), will move before Hon. Joel Schneider, U.S.M.J.,

to enter the proposed Order Granting Preliminary Approval to Class Action
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Settlement (the “Preliminary Approval Order”). Defendants do not oppose this

motion.

      In support of this motion, Plaintiffs rely upon the accompanying

Declarations of Michael Paul Smith, Timothy F. Maloney, and Bruce D.

Greenberg, as well as the brief submitted herewith.

      Plaintiffs state as follows:

      1.     The Parties have entered into a Settlement Agreement, which is

attached to the Affidavit of Michael Paul Smith as Exhibit A.

      2.     The relief requested in this motion is assented to by Defendants, Wells

Fargo Bank, N.A. and Patriot Land Transfer, LLC.

      3.     Plaintiffs respectfully request that the Court:

      A.     Grant Preliminary Approval to the Settlement Agreement as fair,

adequate and reasonable;

      B.     Preliminarily certify the Class as defined in the Settlement Agreement

for purposes of settlement;

      C.     Approve the Notice Plan in the Settlement Agreement and the

proposed forms of notice, which are attached as Exhibits to the Settlement

Agreement;

      D.     Appoint Plaintiffs as Class Representatives and Michael Paul Smith,

Bruce D. Greenberg, and Timothy F. Maloney as Lead Class Counsel;


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      E.    Schedule a Final Approval Hearing to consider the fairness,

reasonableness and adequacy of the Settlement Agreement and whether final

approval should be granted, as well as the application for an award of attorneys’

fees and reimbursement of expenses and costs and service awards for the class

representatives; and

      F.    Enter the proposed Preliminary Approval Order.

Dated: October 31, 2019        LITE DEPALMA GREENBERG, LLC

                               /s/ Bruce D. Greenberg
                               Bruce D. Greenberg
                               570 Broad Street, Suite 1201
                               Newark, NJ 07102
                               Telephone: (973) 623-3000
                               bgreenberg@litedepalma.com

                               SMITH, GILDEA & SCHMIDT, LLC

                               /s/ Michael Paul Smith
                               (admitted Pro Hac Vice)
                               Michael Paul Smith
                               600 Washington Avenue, Suite 200
                               Towson, MD 21204
                               Telephone: (410) 821-0070
                               mpsmith@sgs-law.com

                               JOSEPH, GREENWALD & LAAKE, P.A.

                               /s/ Timothy F. Maloney
                               Timothy F. Maloney (admitted Pro Hac Vice)
                               Veronica B. Nannis (admitted Pro Hac Vice)
                               6404 Ivy Lane, Suite 400
                               Greenbelt, MD 20770
                               Telephone: (301) 220-2200
                               tmaloney@jgllaw.com
                               vnannis@jgllaw.com
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